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                        IN THE UNITED STATES COURT
                    FOR THE NORTHERN DISTRICT OF TEXAS
                              DALLAS DIVISION

SHARON SCOTT, individually and on       §               Civil Action No.
behalf of others similarly situated     §
        Plaintiff                       §               3:19-cv-00472-N
                                        §
V.                                      §
                                        §
VERYABLE, INC., and MEDLINE             §            Judge David C. Godbey
INDUSTRIES, INC.                        §
     Defendants                         §
                                        §


Memorandum in Support of the Motion to Dismiss Claims Against Veryable for Lack of
  Subject Matter Jurisdiction (Fed.R.Civ.P. 12(b)(1)) and To Compel Arbitration.



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        Veryable moves the Court to dismiss Plaintiff’s Complaint against it and to compel

arbitration.1 In support of its motion, Veryable respectfully states as follows:

                                             I. BACKGROUND
1.      Introduction.

        Plaintiff Sharon Scott, on behalf of herself and others similarly situated, filed a Fair Labor

Standards Act collective action against Veryable, Inc. and Medline Industries, Inc. alleging they

misclassified her as an independent contractor and not as an employee and thus failed to pay her

overtime of one and one-half times her regular rate. Veryable denies any liability.

        Veryable is an on-demand labor marketplace for manufacturing, logistics, and warehousing

that allows businesses and workers to connect directly. Businesses can gain flexible capacity and

quality workers, and operators get flexible work arrangements and diverse work opportunities.

The gig economy and its on-demand workforce are transforming the way people work by offering

individuals the flexibility to work when and where they want, as much or as little as needed.

        Individuals (known as “operators”) register with Veryable to find work through its online

app, and businesses can register with Veryable to post work opportunities on the app and find and

select workers. In sum, when a business needs a worker, the business can post the work

opportunity to Veryable’s app. The operators are notified of the opportunity through the app, and

they can choose to bid on the opportunity or not, i.e., indicate whether they are available and

willing to perform that particular work. The business reviews the pool of willing operators and

accepts the best ones for the opportunity. If selected by the business, the operator reports to the

business’ workplace and performs the work as directed by the business. For the business’ use of

the app, Veryable charges the businesses for the operators’ direct labor costs plus a surcharge, and


1
 Veryable makes this motion without waiver of its right to compel arbitration. In the event the Court would construe
Veryable’s Motion to Dismiss pursuant to Rule 12(b)(1) as a waiver of its arbitration rights, Veryable asks that the
Court consider only its Motion to Compel Arbitration.

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Veryable handles the payments to the operators based on the payrate set by the business and the

hours-worked, as reported by the business.

        In this case, Plaintiff Sharon Scott created and activated an account with Veryable, and

through its online app, she obtained work with several of Veryable’s customers, including the co-

defendant Medline Industries. Using Veryable’s platform, Medline accepted Plaintiff’s bid to work

at Medline’s distribution center as a warehouse laborer for the hours and days that she was willing

to work. Thus, Plaintiff worked as a warehouse laborer at Medline’s distribution center, and she

was paid by Veryable based on the payrate set by Medline and based on the hours reported by

Medline.

        However, Plaintiff alleges Medline and Veryable misclassified her as an independent

contractor and not as an employee and thus failed to pay her overtime. She also alleges Medline

and Veryable are her joint employers. On behalf of herself and other similarly situated operators,

she seeks back wages for the unpaid overtime, including liquidated damages and attorneys’ fees.

        Again, Veryable denies any liability, but this Honorable Court does not need to consider

the merits of Plaintiff’s claims because the parties have agreed to arbitrate their claims.


2.      Factual Background.

        The following facts establish that the parties agreed to arbitrate Plaintiff’s claim against

Veryable. In particular, Plaintiff consented to Veryable’s Terms of Service, which conspicuously

include an arbitration agreement.

        A.     Plaintiff agreed to the Terms of Service.

        Users of Veryable’s app are required to register and take affirmative steps to create and

activate their account. After entering basic contact information to create an account, users cannot

complete the transaction or proceed any further until they the take affirmative steps establishing

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their consent to the Terms of Service. See the Declaration of Noah Labhart which explains this

process.

       There are two methods that can be used to create and activate an account: (1) through an

app store; or (2) through a web-form on Veryable’s website. There are some differences between

the two methods, but all users utilizing Veryable’s application agree to arbitration. Stated another

way, both methods for creating an account include an agreement to arbitrate.

       Sharon Scott’s account was created through the web-form on Veryable’s website. As more

fully described in the Declaration of Noah Labhart and images attached thereto, Plaintiff Sharon

Scott was required to finish the activation process by clicking a button labeled “Finish.”

Immediately below the “Finish” button, the following statement is provided: “By signing up to

use Veryable, you agree to our Terms of Service and Privacy Policy.” The phrase “Terms of

Service” is in a different color to make it more conspicuous and is hyperlinked to the Terms of

Service. See the exhibit marked as Veryable 4.

       Furthermore, the Terms of Service immediately begins with the “ARBITRATION

NOTICE” in all capital letters. See the exhibit marked as Veryable 5. Because the app prevents

users from proceeding any further until they click the “Finish” button, this process is called a

“clickwrap” agreement, and courts have held such a process is sufficient to bind the parties to the

Terms of Service. Jia v. Nerium Int’l LLC, 2018 WL 4491163, at *3 (N.D. Tex. Sept. 18, 2018).

       Defendant respectfully requests this Honorable Court take judicial notice, pursuant to FRE

201, of the Veryable application and its features, which are accurate, verifiable and readily

available to the public and cannot be reasonably questioned and are the proper subject of judicial

notice. See also, Sanders v. Zwicker & Associates, P.C., 2014 WL 11456070 at fn. 2 (N.D. Tex.

September 9, 2014).



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           B.       Plaintiff’s claim fall within arbitration agreement.

           The arbitration agreement in the Terms of Service2 provides:

           Applicability of Arbitration Agreement. All claims and disputes arising out of or
           relating to these Terms or the use of the Services that cannot be resolved in small
           claims court will be resolved by binding arbitration on an individual basis, except
           that You and Veryable are not required to arbitrate any dispute in which either party
           seeks equitable relief for the alleged unlawful use of copyrights, trademarks, trade
           names, logos, trade secrets, or patents.

           The arbitration agreement further therein also provides:

           Small Claims Court. Notwithstanding the foregoing, either You or Veryable may
           bring an individual action in small claims court.

           When interpreting those two sections in connection with each other, the arbitration

agreement is applicable to “all claims and disputes” arising out of or relating to the Terms or the

use of the Services, unless a party elects to bring the action in small claims court. Such “[b]road

arbitration clauses are not limited to claims that literally arise under the contract, but rather

embrace all disputes having a significant relationship to the contract regardless of the label attached

to the dispute.” Sharifi v. AAMCO Transmissions, Inc., 2007 WL 1944371, at *3 (N.D. Tex. June

28, 2007.

           The arbitration agreement, however, is conditioned upon the waiver of class or

consolidated actions being enforceable. The Terms of Services contains a waiver of class or

consolidated actions (Veryable 17), which provides:

           Waiver of Class or Consolidated Actions. ALL CLAIMS AND DISPUTES
           WITHIN THE SCOPE OF THIS ARBITRATION AGREEMENT MUST BE
           ARBITRATED OR LITIGATED ON AN INDIVIDUAL BASIS AND NOT ON
           A CLASS BASIS. CLAIMS OF MORE THAN ONE CUSTOMER OR USER
           CANNOT BE ARBITRATED OR LITIGATED JOINTLY OR CONSOLIDATED
           WITH THOSE OF ANY OTHER CUSTOMER OR USER. If, however, this
           waiver of class or consolidated actions is deemed invalid or unenforceable, neither
           You nor Veryable are entitled to arbitration; instead all claims and disputes will be
           resolved in a court as set forth in Sections 12 and 13.
2
    See the Terms of Service (Veryable 17) and the Declaration of Noah Labhart authenticating the Terms of Service.

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         If the waiver of class actions is invalid or unenforceable, then neither party is entitled to

arbitration. Instead, all claims and disputes will be resolved in a court. As discussed herein, the

parties are entitled to arbitration since the waiver is valid and enforceable. See Gaffers v. Kelly

Servs., Inc., 900 F.3d 293, 297 (6th Cir. 2018) (holding arbitration agreements containing class

waivers are enforceable in FLSA cases).


                                         II. ARGUMENT

1.       The claims against Veryable must be dismissed pursuant to Fed.R.Civ.P. 12(b)(1).

         A challenge to a court’s subject matter jurisdiction over a particular dispute is properly

raised by a Rule 12(b)(1) motion. Heyward v. Public Housing Admin., 238 F.2d 689, 694-695 (5th

Cir. 1956). The Fifth Circuit stated: “We have held that a district court lacks subject matter

jurisdiction over a case and should dismiss it pursuant to Federal Rule of Civil Procedure 12(b)(1)

when the parties' dispute is subject to binding arbitration.” Gilbert v. Donahoe, 751 F.3d 303, 306

(5th Cir. 2014), citing Ballew v. Cont'l Airlines, Inc., 668 F.3d 777, 781, 787 (5th Cir. 2012) and

Omni Pinnacle, LLC v. ECC Operating Servs., Inc., 255 F. App'x 24, 26 (5th Cir. 2007) (affirming

the district court's order dismissing case pursuant to Rule 12(b)(1) on the ground that agreement

between parties required arbitration of dispute).

         Federal courts allow a party to enforce an arbitration agreement through a motion to

dismiss under this rule. See e.g., Murchison Capital Partners, L.P. v. Nuance Communs., Inc., 625

Fed.Appx. 617, 627 (5th Cir. 2015) (“We … affirm the dismissal of [plaintiff]’s securities fraud

claim, [] on the alternative ground that [defendant] would have been entitled to prevail on a Rule

12(b)(1) or 12(b)(3) motion to dismiss the case because the dispute is covered by the arbitration

clause”); Smith v. Santander Consumer USA, Inc., 2018 WL 2225085, at *1 (N.D. Tex. May 15,


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2018)(“In this case, defendant has shown that plaintiff’s claim is subject to an arbitration

agreement….Accordingly, dismissal of plaintiff’s claim pursuant to Fed. R. Civ. P. 12(b)(1) is

appropriate.”); see also Baptist Hosps. of Se. Texas v. SelectCare of Texas, Inc., 2018 WL 5569424,

at *3 (E.D. Tex. Oct. 4, 2018), report and recommendation adopted, 2018 WL 5532483 (E.D. Tex.

Oct. 26, 2018) (“Dismissing a case based on an arbitration clause is permissible under Federal

Rule of Civil Procedure 12(b)(1) or 12(b)(6).”)


2.       The Federal Arbitration Act mandates that the Court compel arbitration.

         The Federal Arbitration Act (“FAA”), 9 U.S.C. §§ 1, et seq., is broad in scope and provides

that contractual arbitration agreements “shall be valid, irrevocable, and enforceable, save upon

such grounds as exist at law or in equity for the revocation of any contract.” 9 U.S.C. § 2.

         The FAA “permits an aggrieved party,” such as Veryable, “to file a motion to compel

arbitration when an opposing ‘party has failed, neglected, or refused to comply with an arbitration

agreement.’” Am. Bankers Ins. Co. of Fla. v. Inman, 436 F.3d 490, 493 (5th Cir. 2006) (quoting

Gilmer v. Interstate/Johnson Lane Corp., 500 U.S. 20, 25 (1991)). The Court must compel

arbitration if it finds that (1) a valid agreement to arbitrate exists between the parties; and (2) the

dispute falls within the scope of that valid agreement. See Kubala v. Supreme Prod. Servs., Inc.,

830 F.3d 199, 201 (5th Cir. 2016). All those elements exist here.


3.       The parties entered into a binding arbitration agreement when Plaintiff consented
         to Veryable’s Terms of Service.

         “When a party seeks to compel arbitration based on a contract, the first, and perhaps most

obvious, question for the court is whether there is a contract between the parties at all.” Arnold v.

Homeaway, Inc., 890 F.3d 546, 550 (5th Cir. 2018).



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        The FAA “reflect[s] both a liberal federal policy favoring arbitration and the fundamental

principle that arbitration is a matter of contract.” AT&T Mobility LLC v. Concepcion, 563 U.S.

333, 339 (2011) (quotation omitted). Accordingly, “courts must place arbitration agreements on

an equal footing with other contracts, and enforce them according to their terms.” Id. (internal

citations omitted). Therefore, to determine whether a valid contract exists between the parties,

courts apply ordinary principles of state contract law. Edwards v. Doordash, Inc., 888 F.3d 738,

745 (5th Cir. 2018).

       Here, the Veryable Terms of Service are governed by “the laws of the State of Delaware.”

(Veryable 18). The Court should therefore apply Delaware law when interpreting the nature and

scope of the arbitration agreement. See Edwards, 888 F.3d at 745 (applying California law where

the agreement at issue contained a California choice of law provision and the parties did not

challenge the validity of that provision). Assuming, however, Plaintiff denies agreeing to the

Terms, the court may find the Terms’ choice-of-law provision does not determine the decisional

law for the parties’ contract-formation dispute, and therefore, the Court may apply the law of the

forum state, Texas.

       Nevertheless, this choice of law provision is not outcome determinative here. Texas

contract law is not meaningfully distinct from Delaware law. With respect to the enforceability of

Terms of Service, including the arbitration provision, the law of Delaware is consistent with Texas

law. See Newell Rubbermaid Inc. v. Storm, 2014 WL 1266827, at *1 (Del. Ch. Mar. 27, 2014)

(“clickwrap agreements…are enforceable under Delaware law.”) and James v. Glob. TelLink

Corp, 852 F.3d 262, 267 (3d Cir. 2017)(“where the website contains an explicit textual notice that

continued use will act as a manifestation of the user’s intent to be bound, courts have been more

amenable to enforcing browsewrap agreements.”) And Courts across various jurisdictions have



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uniformly enforced arbitration agreements and class action waivers like the one at issue here. E.g.,

Gaffers v. Kelly Servs., Inc., 900 F.3d 293, 297 (6th Cir. 2018).

       To determine if a valid agreement to arbitrate exists between the parties in the context of

using an online app, Courts consider if the Terms of Service is a clickwrap agreement, browsewrap

agreement, or hybrid agreement.

       Clickwrap: A clickwrap agreement allows a user to assent to the terms of a contract by
       clicking a button on the web site, and if the user does not accept the terms of the agreement,
       the web site will not complete the transaction. Additionally, courts have held that when the
       agreement is located at a hyperlink and is immediately available at the stage of assent, the
       process is considered a clickwrap agreement. Bongalis-Royer v. RJ Worldwide, LLC, 2015
       WL 12778846, at *5 (E.D. Tex. July 16, 2015); In re Online Travel Co., 953 F.Supp. 2d
       713, 718–19 (N.D. Tex. 2013),

       Browsewrap: A browsewrap agreement does not require the user to expressly manifest
       assent to the Terms of Service, but rather, a party provides his or her assent simply by using
       the website. Sw. Airlines Co. v. BoardFirst, L.L.C., No. 3:06-CV-0891-B, 2007 WL
       4823761, at *4 (N.D. Tex. Sept. 12, 2007).

       Hybrid: A hybrid agreement resembles a clickwrap agreement because the hyperlink to
       terms is conspicuous. Temple v. Best Rate Holdings LLC, 2018 WL 6829833, at *8 (M.D.
       Fla. Dec. 27, 2018) (“courts have enforced browsewrap agreements where hyperlinks to
       terms are conspicuous. And, courts have enforced “hybrid” browsewrap agreements.”)

       A.      An enforceable clickwrap agreement existed.

       Veryable’s Terms of Service constitute a “clickwrap” agreement. As with many clickwrap

agreements, the full text of the Terms of Service appears on a separate, and hyperlinked webpage.

Courts routinely find clickwrap agreements enforceable under just such circumstances. The court

should find that Scott had notice of the Terms of Service and assented to them, including the

arbitration agreement contained therein.

       Delaware and Texas courts recognize the validity of clickwrap agreements. Klebba v.

Netgear, Inc., 2019 WL 453364, at *4 (W.D. Tex. Feb. 5, 2019); Newell Rubbermaid Inc. v. Storm,

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2014 WL 1266827, at *1 (Del. Ch. Mar. 27, 2014) (“clickwrap agreements…are enforceable under

Delaware law.”).

        “It is well established under Texas law that assent through an affirmative ‘click’ is

sufficient to bind the parties.” Jia v. Nerium Int’l LLC, 2018 WL 4491163, at *3 (N.D. Tex. Sept.

18, 2018). Thus, since Veryable’s Terms of Service is a clickwrap agreement, the arbitration

provision is enforceable. No further inquiry is required, and the Court should find a valid

agreement to arbitrate exists between the parties.

       As discussed above, Plaintiff Sharon Scott had to click the “Finish” button in order to

complete the activation process, and immediately below the “Finish” button, the following

statement is provided: “By signing up to use Veryable, you agree to our Terms of Service and

Privacy Policy.” The phrase “Terms of Service” is hyperlinked to the Terms of Service. The

Northern District of Texas held that a nearly identical process was an enforceable clickwrap

agreement. In re Online Travel Co., 953 F.Supp. 2d 713, 718–19 (N.D. Tex. 2013).

       In the case In re Online Travel Co., 953 F.Supp. 2d 713, 718–19 (N.D. Tex. 2013), the

Northern District of Texas held Travelocity provided sufficient evidence the plaintiffs manifested

assent to the User Agreement, including its arbitration provision and class action waiver, even

though Travelocity did not provide transaction-specific evidence as to each plaintiff. The court

found plaintiffs assented to Travelocity’s User Agreement by clicking on a button that said: “Agree

and Complete Reservation,” and directly below this button was a notice explaining that, by

clicking the button, the user agreed to the policies set forth in the User Agreement, which was

accessible via hyperlink. Moreover, the Northern District of Texas held Travelocity’s User

Agreement was a valid clickwrap agreement since the User Agreement was conspicuously




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presented and plaintiffs assented to the User Agreement by clicking the “Accept” button to

complete the online transaction.

       B.      Alternatively, an enforceable browsewrap agreement existed.

       If the court finds the agreement is a browsewrap agreement, then the court should still find

the agreement is valid and enforceable since Sharon Scott had constructive notice of the

conspicuously placed Terms of Service.

       To enforce a browsewrap agreement, the user must have actual or constructive knowledge

of the terms and conditions of the agreement to prove a valid agreement existed between the user

and the company. DHI Grp., Inc. v. Kent, 2017 WL 4837730, at *2 (S.D. Tex. Oct. 26, 2017).

Thus, a browsewrap agreement is binding when a website user has actual or constructive

knowledge of a site’s terms and conditions prior to using the site. Sw. Airlines Co. v. BoardFirst,

L.L.C., 2007 WL 4823761, at *5 (N.D. Tex. Sept. 12, 2007). Constructive knowledge may be

established by providing sufficient notice of the terms and conditions. Sw. Airlines Co. v.

BoardFirst, L.L.C., 2007 WL 4823761, at *5 (N.D. Tex. Sept. 12, 2007). If the terms of the

agreement are reasonably conspicuous to an average user, then constructive notice may be

established. Sw. Airlines Co. v. BoardFirst, L.L.C., 2007 WL 4823761, at *5 (N.D. Tex. Sept. 12,

2007). And Delaware law likewise holds that “where the website contains an explicit textual notice

that continued use will act as a manifestation of the user’s intent to be bound, courts have been

more amenable to enforcing browsewrap agreements.” James v. Glob. TelLink Corp, 852 F.3d

262, 267 (3d Cir. 2017).

       Here, given the conspicuously placed statement (“By signing up to use Veryable, you agree

to our Terms of Service and Privacy Policy”) immediately below the “Finish” button, with the




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phrase “Terms of Service” hyperlinked to the Terms of Service, Plaintiff Scott had constructive

notice of those Terms of Service.

       C.      Alternatively, an enforceable hybrid agreement existed.

       Accordingly, the court may find the Veryable agreement used in the web-form activation

process is a “hybrid agreement” where “the terms being accepted do not appear on the same screen

as the accept button, but are available with the use of hyperlink.” Petrie v. GoSmith, Inc., 2019

WL 423064, at *2 (D. Colo. Jan. 31, 2019). A “hybrid agreement weighs in favor of valid notice,

as courts have generally been more willing to find the requisite notice for constructive assent where

the browsewrap agreement resembles a clickwrap agreement.” Temple v. Best Rate Holdings LLC,

, 2018 WL 6829833, at *8 (M.D. Fla. Dec. 27, 2018).

       The court in Fteja v. Facebook, Inc., 841 F.Supp.2d 829, 834-35 (S.D.N.Y. 2012) found

that the user was put on notice of the Terms of Service when the user clicked the “Sign Up” button

and right below the button was a sentence that read: “By clicking Sign Up, you are indicating that

you have read and agree to the Terms of Service.”

       And May v. Expedia, Inc., 2018 WL 4343445, at *3 (W.D. Tex. July 19, 2018), report and

recommendation adopted, 2018 WL 4343427 (W.D. Tex. Aug. 27, 2018), the Western District of

Texas found that the website was sufficient to put plaintiff on notice that by continuing the

transaction he was agreeing to the Terms and Conditions and to bind him to those Terms and

Conditions. The website required the user to click a “Continue” button to complete the transaction,

and directly above the “Continue” button informed the user that “[b]y clicking ‘Continue’ you are

agreeing to our Terms and Conditions and Privacy Policy.” The “Terms and Conditions” and

“Privacy Policy” were in blue, as opposed to black, font to indicate they were hyperlinks. Again,




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the processes in May v. Expedia and Fteja v. Facebook were essentially the same process used by

Veryable when users used the web-form method to create and activate their account.

       In other words, is it enough that Veryable warns its users that they will accept terms if they

click a button while providing the opportunity to view the terms by first clicking on a hyperlink?

Courts have overwhelmingly answered that question - “yes.” Fteja v. Facebook, Inc., 841

F.Supp.2d 829, 834-35 (S.D.N.Y. 2012) (see citations therein).

       As the Second Circuit has reminded us, “[w]hile new commerce on the Internet has

exposed courts to many new situations, it has not fundamentally changed the principles of

contract.” Register.com, Inc. v. Verio, Inc., 356 F.3d 393, 403 (2d Cir.2004). To make that point,

the Second Circuit used a rather simple analogy (Id. at 401), and for purposes of this case suppose

the following: Veryable maintains a roadside fruit stand displaying bins of apples, and above the

bins of apples is a sign that say, “By picking up this apple, you consent to the terms of sales by

this fruit stand. For those terms, turn over this sign.” “In those circumstances, courts have not

hesitated in applying the terms against the purchaser.” Fteja v. Facebook, Inc., 841 F.Supp.2d 829,

834-35 (S.D.N.Y. 2012).

        Indeed, in Carnival Cruise Lines, Inc. v. Shute, 499 U.S. 585, 587, 111 S.Ct. 1522, 113

L.Ed.2d 622 (1991), the Supreme Court upheld a forum selection clause in fine print on the back

of a cruise ticket, even though the clause became binding at the time of purchase, and the

purchasers only received the ticket some time later. See id. In other words, the purchasers were

already bound by terms by the time they were warned to read them.

       There is no reason why that outcome should be different because Veryable’s Terms of

Service appear on another screen rather than another sheet of paper. There is no difference between

a hyperlink or a sign on a bin of apples saying “Turn Over for Terms” or a cruise ticket with fine



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print saying “SUBJECT TO CONDITIONS OF CONTRACT ON LAST PAGES IMPORTANT!

PLEASE READ CONTRACT.…” Shute, 499 U.S. at 587, 111 S.Ct. 1522.

       The District court in Fteja v. Facebook, Inc., 841 F. Supp. 2d 829, 839 (S.D.N.Y. 2012)

said with respect to those individual who frequently use the Internet that “it is not too much to

expect that an internet user…would understand that the hyperlinked phrase “Terms of Use” is

really a sign that says “Click Here for Terms of Use” and “clicking the hyperlinked phrase is the

twenty-first century equivalent of turning over the cruise ticket.”

       Here, like the plaintiff in Fteja v. Facebook, Inc., Veryable’s users were informed of the

consequences of their assenting click and they were shown, immediately below, where to click to

understand those consequences. “That was enough.” Fteja v. Facebook, Inc., 841 F. Supp. 2d at

840. That Plaintiff may not have read these terms is inapposite. “Texas courts have held, against

protestations of inadequate notice for not having read all terms, that a contracting party, absent

fraud, has the responsibility to read an electronically-presented contract, and cannot complain if

they do not do so.” Bongalis-Royer v. RJ Worldwide, LLC, 2015 WL 12778846, at *6 (E.D. Tex.

July 16, 2015).

       Since Scott had to click the “Finish” button to sign into the app, and given the placement

of the Terms and Conditions hyperlink immediately below the “Finish” button, along with notice

saying “By signing up to use Veryable, you agree to our Terms of Service and Privacy Policy,”

the court should find that Scott had notice of the Terms of Conditions and assented to them. The

court should find that the web-form activation process is an enforceable clickwrap agreement; or

alternatively, it is a browsewrap agreement that resembled a clickwrap agreement; or alternatively,

it is a browsewrap agreement with a conspicuously placed notice and hyperlink to the Terms of

Service, which establishes constructive knowledge and notice of the Terms of Service. Under



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these facts, the arbitration provision is enforceable, and Scott should be compelled to arbitrate her

claims.


 4.        The parties delegated authority to determine threshold questions of arbitrability to
          an arbitrator.

          “Under the FAA, parties are free to delegate questions to an arbitrator, including questions

regarding the validity and scope of the arbitration provision itself.” Arnold, 890 F.3d at 551.

Because Plaintiff affirmatively consented to the arbitration agreement in the Terms of Service, the

only remaining questions for the Court are: (1) whether the Court or the arbitrator decides

questions of arbitrability; and (2) if the Court decides arbitrability, whether the dispute falls within

the scope of the arbitration clause. See Kubala, 830 F.3d at 202.

          To determine arbitrability, the parties must “evince[] an intent to have the arbitrator decide

whether a given claim must be arbitrated.” Id. “[E]xpress adoption” of arbitration rules that

delegate arbitrability questions to the arbitrator “presents clear and unmistakable evidence that the

parties agreed to arbitrate arbitrability.” Petrofac, Inc. v. DynMcDermott Petroleum Operations

Co., 687 F.3d 671, 675 (5th Cir. 2012).

          Here, the arbitration agreement contains a delegation clause because it incorporates the

AAA Consumer Arbitration Rules, and the Terms of Service explicitly state those rules govern the

arbitration. Furthermore, it provides that “The arbitrator will decide the jurisdiction of the

arbitrator.” Plaintiff and Veryable clearly and unmistakably delegated arbitrability questions to the

arbitrator. See, e.g., Brennan v. Opus Bank, 796 F.3d 1125, 1130 (9th Cir. 2015) (holding that

“incorporation of the [American Arbitration Association] rules constitute clear and unmistakable

evidence that contracting parties agreed to arbitrate arbitrability”).




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5.       Because the parties delegated arbitrability questions, the Court must compel
         arbitration.

         In light of the delegation provision, the Court must compel arbitration to determine any

outstanding arbitrability issues. Although the Fifth Circuit recognizes a narrow exception to

submitting arbitrability issues to an arbitrator, that exception is inapplicable here. See Kubala, 830

F.3d at 202, n.1. The Court may consider arbitrability despite a delegation clause only when “the

argument that the dispute falls within the scope of the [arbitration] agreement is . . . wholly

groundless.” Douglas v. Regions Bank, 757 F.3d 460, 464 (5th Cir. 2014). Such cases are

“exceptional,” and the Fifth Circuit has cautioned that district courts should not “prejudge

arbitrability disputes more properly left to the arbitrator pursuant to a valid delegation clause.”

Kubala, 830 F.3d at 202 n.1. If “there is a ‘plausible’ argument that the arbitration agreement

requires the merits of the claim to be arbitrated, a delegation clause is effective to divest the court

of its ordinary power to decide arbitrability.” Id.

         The Douglas exception does not apply here, as Veryable has established more than a

plausible argument that the parties’ arbitration agreement covers this FLSA action.

         The arbitration agreement covers “All claims and disputes arising out of or relating to these

Terms or the use of the Services….” Because the arbitration agreement contains “any dispute”

language, this is a broad arbitration clause. “Broad arbitration clauses are not limited to claims that

literally arise under the contract, but rather embrace all disputes having a significant relationship

to the contract regardless of the label attached to the dispute.” Sharifi v. AAMCO Transmissions,

Inc., 2007 WL 1944371, at *3 (N.D. Tex. June 28, 2007); See Adkins v. Labor Ready, Inc., 185 F.

Supp. 2d 628 (S.D.W. Va. 2001) (Employee’s claim that the temporary employment agency

violated FLSA was within scope of parties’ broad arbitration clause, applicable to any disputes

arising out of her employment); Perez v. Lemarroy, 592 F. Supp. 2d 924 (S.D. Tex. 2008) (same).

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         Accordingly, to avoid arbitration on the grounds that her FLSA claim is not covered by the

arbitration agreement, Scott must adduce “forceful evidence” in support of her argument that her

FLSA claim is not covered by this broad language. Summit Emergency Holdings, LLC v. Michael

J. Camlinde & Assocs., Inc., 2018 WL 5631502, at *6 (N.D. Tex. Oct. 30, 2018).

         There are, therefore, no claims in this action that are not contemplated by the Terms of

Service. Because Plaintiff and Veryable entered into an arbitration agreement that contains a

delegation clause, and because the agreement covers the parties’ dispute in this action, any issues

of arbitrability should be decided by an arbitrator rather than the Court.


6.       Since the waiver of class actions is enforceable, the parties are entitled arbitration.

         The arbitration agreement is conditioned upon the waiver of class or consolidated actions

being enforceable. The Terms of Services contains a waiver of class or consolidated actions, which

provides:

         Waiver of Class or Consolidated Actions. ALL CLAIMS AND DISPUTES
         WITHIN THE SCOPE OF THIS ARBITRATION AGREEMENT MUST BE
         ARBITRATED OR LITIGATED ON AN INDIVIDUAL BASIS AND NOT ON
         A CLASS BASIS. CLAIMS OF MORE THAN ONE CUSTOMER OR USER
         CANNOT BE ARBITRATED OR LITIGATED JOINTLY OR CONSOLIDATED
         WITH THOSE OF ANY OTHER CUSTOMER OR USER. If, however, this
         waiver of class or consolidated actions is deemed invalid or unenforceable, neither
         You nor Veryable are entitled to arbitration; instead all claims and disputes will be
         resolved in a court as set forth in Sections 12 and 13.

         Thus, if the waiver of class actions is invalid or unenforceable, then neither party is entitled

to arbitration. Instead, all claims and disputes will be resolved in a court. The waiver at issue

here, however, is valid and enforceable.




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        The Sixth Circuit in Gaffers v. Kelly Servs., Inc., 900 F.3d 293, 297 (6th Cir. 2018), citing

Epic Sys. Corp. v. Lewis, 138 S. Ct. 1612 (2018),3 held the Fair Labor Standards Act does not

prohibit the use of arbitration agreements which ban class actions and other collective actions.

“Arbitration agreements containing class waivers are enforceable in FLSA cases. Thus, FLSA

plaintiffs may be required by a binding arbitration agreement to proceed individually.” Hill-Smith

v. Silver Dollar Cabaret, Inc., 2018 WL 6579917, at *2 (W.D. Ark. Dec. 13, 2018) citing Epic

Sys. Corp. v. Lewis, 138 S. Ct. 1612, 1626 (2018); See also Hood v. Uber Techs., Inc., 2019 WL

93546, at *6 (M.D.N.C. Jan. 3, 2019) (“There is nothing unlawful about a requirement that drivers

with active Uber accounts abide by a new technology agreement and agree to waive their right to

opt out of any future arbitration agreement, which, while it serves to prevent future collective

actions, still allows individual actions.”)

        Furthermore, although the waiver does not use the term “collective action,” courts

generally use the words “class action” when referring to FLSA collective actions. Copello v.

Boehringer Ingelheim Pharm. Inc., 812 F. Supp. 2d 886 (N.D. Ill. 2011) (“class” is broad enough

to describe the group of individuals opting into a § 216(b) collective action). “As a matter of

ordinary usage, the term ‘class’ encompasses a group of individuals opting into a § 216(b)

collective action, and the term ‘class action”’ encompasses the legal proceedings that follow

certification under § 216(b).” Copello v. Boehringer Ingelheim Pharm. Inc., 812 F. Supp. 2d 886,

892 (N.D. Ill. 2011).

        Accordingly, the waiver provision is enforceable, and the parties are entitled to arbitrate

Plaintiff’s claims.




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  Epic Systems Corp. v. Lewis held that the National Labor Relations Act does not prevent the use of arbitration
agreements with class and collective action waivers covered by the Federal Arbitration Act.

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7.       The Court should dismiss this action against Veryable pending resolution of
         arbitration.

         The rule (9 U.S.C. § 3) that requires staying the action upon a showing that the opposing

party has commenced suit upon any issue referable to arbitration under an agreement in writing

for such arbitration, “was not intended to limit dismissal of a case in the proper circumstances. The

weight of authority clearly supports dismissal of the case when all of the issues raised in the district

court must be submitted to arbitration.” Alford v. Dean Witter Reynolds, Inc., 975 F.2d 1161, 1164

(5th Cir. 1992); accord Adam Techs. Int'l S.A. de C.V. v. Sutherland Glob. Servs., Inc., 729 F.3d

443, 447 n.1 (5th Cir. 2013) (“[W]e are bound by our precedent which states that dismissal is

appropriate ‘when all of the issues raised in the district court must be submitted to arbitration.’”

(quoting Alford, 975 F.2d at 1164)); Ascension Orthopedics, Inc. v. Curasan AG, No. 1:06-cv-424-

LY, 2006 WL 3257723, at *1 (W.D. Tex. Oct. 26, 2006) (“[T]his Court finds that all of the issues

raised in this cause must be submitted to arbitration. The Court will therefore dismiss the case with

prejudice.”).

         Because all of the issues in this case against Veryable, including gateway issues of

arbitrability, are subject to arbitration, the Court should dismiss this case against Veryable with

prejudice. See Alford, 975 F.2d at 1164; Ascension Orthopedics, 2006 WL 3257723, at *1.


                                        III. CONCLUSION

         Because Scott created a Veryable account, she must have clicked the “Finish” button

immediately above the Terms of Service, and thus agreed to those Terms or had constructive notice

of those Terms. Moreover, the law favors Veryable’s position that the parties agreed to the Terms

of Service.




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        “A party who signs a document is presumed to know its contents.” In re Intern. Profit

Assoc., Inc., 286 S.W.3d 921, 923 (Tex. 2009) (cleaned up). Accordingly, “parties to a contract

have an obligation to protect themselves by reading what they sign and, absent a showing of fraud,

cannot excuse themselves from the consequences of failing to meet that obligation.” Id. at 924.

These same rules “appl[y] to contracts which appear in an electronic format.” Barnett v. Network

Sols., Inc., 38 S.W.3d 200, 204 (Tex. App.—Eastland 2001, pet. denied). The court should compel

Plaintiff to arbitrate her claims.

        Furthermore, since all the issues in this an action must be submitted to arbitration, the court

should dismiss this action against Veryable. Alford v. Dean Witter Reynolds, Inc., 975 F.2d 1161,

1164 (5th Cir. 1992).

        For the foregoing reasons, Veryable respectfully requests that the Court grant its motion

and dismiss the claims against Veryable pursuant to Rule 12(b)(1) for lack of subject matter

jurisdiction. Further, Defendants seek an order from this Court compelling the Plaintiff to

arbitration.

                                               Respectfully submitted:

                                               By:     /s/ Angella H. Myers
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                                                       Attorneys for Defendant, Veryable, Inc.



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                              CERTIFICATE OF CONFERENCE

       Per Civil Rule 7.1, before filing this motion, the undersigned conferred with counsel for

Plaintiff on April 4, 2019. Counsel for Movant has conferred by electronic mail with counsel for

plaintiff regarding the arbitration provisions as well as this motion. And Plaintiff’s counsel has

been provided the arbitration agreements in advance of filing as well. Counsel for Plaintiff is

reviewing same with his client and will respond. While at this time undersigned is unaware of the

motion is opposed or unopposed, due to deadlines for responsive pleadings, this motion is being

filed to protect Defendant’s interests.

                                             /s/ Angella H. Myers
                                             Angella H. Myers



                                 CERTIFICATE OF SERVICE

       The undersigned certified that a true and correct copy of this pleading was served upon all

counsel on this 8th day of April 2019 via the Court’s ECF system.

                                             /s/ Angella H. Myers
                                             Angella H. Myers




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